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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                     Case No. 1:25-cv-00339-JDB

DEPARTMENT OF LABOR, et al.,

Defendants.




                DECLARATION OF HEATHER ANNE PFRIMMER, SEIU


I, Heather Anne Pfrimmer declare as follows:


     1. I am the Deputy Director of the Healthcare Division at the Service Employees

        International Union (“SEIU”). I submit this declaration in support of Plaintiffs’

        application for a temporary restraining order in this matter. The statements made in this

        declaration are based on my personal knowledge, materials I have reviewed, and

        information made available to me pursuant to my duties at SEIU.


     2. SEIU represents approximately two million members in healthcare, the public sector, and

        property services. SEIU has over 150 affiliates across the United States, Canada, and

        Puerto Rico. Our work is guided by our vision for a just society where all workers are

        valued and all people respected—no matter where we are from or the color of our skin,

        where all families and communities can thrive, and where we leave a better and more

        equitable world for generations to come. SEIU 2024 Constitution and Bylaws, SEIU

        Mission Statement, 5, attached hereto as Exhibit A. This vision for a just society includes
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   one where working people have access to healthcare, particularly retirees and individuals

   who are Medicare beneficiaries.


3. SEIU represents approximately one million members who work in the healthcare

   industry, including in health systems and nursing homes, and who provide in-home care

   for elderly and disabled individuals. Our members include doctors, nurses, interns and

   residents, home care and nursing home workers, lab technicians, environmental service

   workers, dietary aides and certified nursing assistants, all of whom work on the frontlines

   of care in our communities.


4. A critical part of SEIU’s mission is our advocacy for broad access to healthcare,

   including advocacy in support of government programs such as the Medicare and

   Medicaid programs. For over 20 years, SEIU has led healthcare advocacy efforts in

   cities, states, and the federal government. SEIU members have drafted and delivered

   petitions to Congress, made millions of calls to Congress, hosted town halls with elected

   officials, and submitted tens of thousands of comments to regulatory agencies including

   the Department of Health and Human Services (“HHS”) and its sub-agencies.

   Specifically, SEIU leaders and members have engaged in advocacy in support of

   healthcare access in the following areas: passage of the Affordable Care Act (“ACA”);

   increased access to services funded by Medicaid, including advocating for increased

   coverage for adults under the ACA’s Medicaid expansion provisions; expansion of

   Medicare coverage to include vision and dental care, long-term care benefits, and

   lowering the eligibility age; Medicare Advantage program reform efforts; prescription

   drug reform; expanded Medicaid funding and workforce standards for Medicaid Home-

   and Community-Based Services programs; and improved staffing regulations in acute
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   care and nursing home facilities.


5. The privacy and confidentiality of Medicare beneficiaries’ data is an important

   component of SEIU’s healthcare advocacy efforts. SEIU’s healthcare members put their

   patients, clients and residents first, and patient care is their top priority. Privacy is an

   essential component of our members’ ability to access quality healthcare and see

   improved health outcomes, which is central to SEIU’s mission. We believe that all

   healthcare decisions should be between the healthcare provider and the patient. HHS’s

   decision to recklessly grant access to its databases, which contain personal information

   and medical billing information, puts this fundamental tenet of healthcare at risk and

   jeopardizes the welfare of our members’ patients.


6. SEIU’s membership includes Medicare beneficiaries. SEIU estimates that we have

   approximately 197,000 members who are over 65 years old and are assumed to be

   Medicare beneficiaries. This is approximately 10% of SEIU’s total membership.


7. Maintaining the confidentiality of personal health information of SEIU members who are

   Medicare beneficiaries is important to SEIU. Our members, many of whom are both

   healthcare workers and Medicare beneficiaries, place a high value on the privacy of their

   personal healthcare information and have an expectation that it will be maintained in a

   confidential manner. They understand that medical privacy is the cornerstone of quality

   patient care, which leads to improved health outcomes and a high quality of life for our

   members and working people.


8. HHS maintains extensive datasets with personal identifying information (“PII”) and

   personal health information (“PHI”) of Medicare beneficiaries, including SEIU members,
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       containing: social security numbers, medical diagnosis codes, and procedure codes in

       connection with healthcare services for which claims have been submitted. It is

       extremely concerning that this kind of private and confidential information of our

       members could be disclosed to the Department of Government Efficiency (“DOGE”)

       employees.


   9. HHS’ failure to safeguard the personal and health information of our members may chill

       them from having candid discussions with their providers, which will result in less

       effective and informed care, including preventive care. That will, in turn, undermine

       SEIU’s efforts to secure quality healthcare for our members.


   10. SEIU members also include approximately 500,000 members who provide in-home care

       services funded by the Medicaid program. Those members have personally identifiable

       information in HHS systems of records related to their participation in state Medicaid

       programs as individual providers, including their name, date of birth and their national

       provider identifier.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on February 11, 2025, in Washington, DC.




                                                              /s/ Heather Anne Pfrimmer
                                                              Heather Anne Pfrimmer
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                                    PREAMBLE
         As almost every improvement in the condition of working people
      has been accomplished by the efforts of organized labor and as
      the welfare of wage, salary, and professional workers can best be
      protected and advanced by their united action in one International
      Union, we have organized the Service Employees International Union
      and have adopted the following Constitution:


                        SEIU MISSION STATEMENT
          SEIU’s vision is for a just society where all workers are valued and   Vision for a Just
      all people respected—no matter where we are from or the color of           Society
      our skin, where all families and communities can thrive, and where
      we leave a better and more equitable world for generations to come.
          This union’s mission is to build the power to win Unions for All
      and end poverty wages forever. It takes all of us. Because when we
      say Unions for All, that’s just what we mean—nobody left out or
      left behind. We will write new rules so that all workers—of every
      race, from every place—can organize across employers, industries,
      sectors, and geographies, not just worksite by worksite. This sectoral
      approach will give SEIU members more power to raise standards in
      our industries and communities, bargain better contracts, and win our
      fights for immigration, climate, healthcare, and racial justice.
          We know there’s only one way forward, together, with millions of
      us united in unions to voice our demands. Our work has dignity. Our
      lives have value. And we have hope. We’re using that hope to fuel
      our fight to win Unions for All, no matter where we work, no matter
      where we live.
          In every breakroom, at every bargaining table, in community
      forums and at the corner store, in our schools, our hospitals, our
      houses of worship, on social media and video meetings, at every
      door we knock, and at the ballot boxes where we cast our votes as
      demands for change, we will make a full-throated demand for Unions
      for All. Together in this union, we will build power and win for and
      with one another to create a brand new labor movement, write new
      rules, and make sure future generations can live free, just, hope-filled
      lives.
